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                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York
DCP:PJC                                              271 Cadman Plaza East
F. #2021R00254                                       Brooklyn, New York 11201



                                                     March 8, 2023

By Email and ECF

The Honorable Eric R. Komitee
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:    United States v. Rogelio Vega
                      Criminal Docket No. 21-563 (EK)

Dear Judge Komitee:

               The government respectfully submits this letter in advance of the defendant
Rogelio Vega’s sentencing in the above-referenced matter, which is currently scheduled for
March 15, 2023, and in response to the defendant’s sentencing submission, dated March 3, 2023
(“Defendant’s Submission”). The defendant has pleaded guilty to three counts of coercing and
enticing a minor, in violation of Title 18, United States Code, Section 2422(b). As set forth
below, a sentence of 30 years’ imprisonment, which is below the U.S. Sentencing Guidelines
(“U.S.S.G.” or “Guidelines”) range of life imprisonment contemplated in the defendant’s plea
agreement, would be sufficient, but not greater than necessary, to achieve the goals of
sentencing.

I.       Background

              Over a period of at least six years, including while the defendant was a deacon 1 in
the Catholic Church,2 the defendant used online communications platforms to solicit several
underage male victims for pornographic images and videos and meetings for sex acts. Several of


         1
        See https://nypost.com/2021/01/22/nyc-church-deacon-charged-with-trying-to-have-
sex-with-teen-officials/; Presentence Investigation Report (“PSR”) ¶ 29.
         2
          According to the Archdiocese of New York, a deacon “is ordained to the ministry of
service” and “is a sign of Christ’s love and concern for all who are in need—especially the
widowed, orphans, the infirm, the elderly, prisoners, couples, teenagers, and all who are in need
of the loving and serving heart of Christ.” https://archny.org/diaconate-formation-program/.
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his underage victims met the defendant on multiple occasions for anal and oral sex in his car and
at motels in various locations throughout Brooklyn and Queens.

       A.      State Investigation and Arrest

                Between July 2020 and January 2021, the defendant communicated with a New
York City Police Department (“NYPD”) officer, whom he believed to be a 14-year-old boy, in
an effort to meet for sex. PSR ¶ 70. During that period, the defendant repeatedly asked the boy
to send “xxx” (nude) pictures and told the boy that he wanted to meet for sex. Id. On January
19, 2021, the defendant met the boy, portrayed by another NYPD officer who presented as a
young male, in Queens. Id. The NYPD officer approached the defendant’s vehicle, confirmed
the defendant’s name and entered the vehicle. Id. Once inside, the defendant told the officer,
whom he thought was an underaged boy, that he liked “top and oral” and grabbed and massaged
the inside of the officer’s left thigh. Id. The defendant was arrested and charged with attempted
use of a child in a sexual performance, a Class D felony. Id. Five cellular telephones were
recovered from the defendant and his vehicle during his arrest. Id. ¶ 8.

               On October 27, 2021, the defendant pleaded guilty to the above-referenced state
charge. Id. ¶ 28. He was sentenced to ten years’ probation. Id. ¶ 70. 3

       B.      The Defendant Enticed Multiple Minors

               On April 15, 2021, the Honorable Roanne L. Mann, United States Magistrate
Judge, issued a search warrant authorizing the search of four of the cellular telephones recovered
from the defendant and his vehicle. Id. A review of communications and images on those
phones revealed that the defendant had used electronic communications platforms, including
Grindr and Kik,4 to arrange for sex with underage victims, discussed below.

               1.     John Doe One

               The defendant met John Doe One, then a fifteen-year-old boy, via Grindr. Id.
¶ 18. John Doe One represented in his Grindr profile that he was “15” and told the defendant he
was in “school.” Id. The defendant told John Doe One that he liked “young guys,” and asked
John Doe One for nude images and videos, including expressly asking, “Do you have videos of
you being fucked?” Id. The defendant sent John Doe One an image of his penis and a video of


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          The Queens County District Attorney’s office (“QCDA”) was aware of the federal
charges pending against the defendant when it disposed of the state case by a plea agreement
with an agreed upon sentence of ten years’ probation. The government submits that the QCDA’s
decision to accept a plea with a probationary sentence has no bearing on the appropriate sentence
in the federal case.
       4
         As explained in the PSR, Grindr markets itself as “[t]he largest social networking app
for gay, bi, trans, and queer people,” and Kik markets itself as “the only chat platform built
especially for teens.” PSR ¶¶ 9 n.1, 17 n.4.

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him having sex with another male. Id. Despite numerous requests, John Doe One never sent the
defendant nude images of himself.

                The defendant met John Doe One at least three times in person for sex acts. In the
first encounter, the defendant took John Doe One’s hand and placed it on the defendant’s
genitals. Id. ¶ 19. In other meetings, the defendant directed John Doe One to perform oral sex
on him and ejaculated in his presence. Id. The defendant picked up John Doe One near his
residence, and John Doe One described the defendant as being “pushy” about them moving to
the back of his vehicle where the windows were tinted. Id. John Doe One did not have
penetrative intercourse with the defendant, despite the defendant offering between $50-$100 and
“poppers,” a chemical psychoactive drug, to John Doe One. Id. In text communications
between the defendant and John Doe One, the defendant blended ordinary conversation with a
teenager with instructions about their illicit meetups. The defendant discussed school and
homework with John Doe One while also telling him to “bring condoms and something where
we can lay down on,” instructing him, “don’t tell anyone about this.” Id.

               2.     John Doe Two

                 Beginning in at least April 2019, although their communications suggest earlier
contact, and continuing through October 2020, the defendant exchanged messages with John Doe
Two. See id. ¶ 9. These messages make clear that the defendant knew John Doe Two was
underage. On September 27, 2019, John Doe Two told the defendant he could not meet because
he was in school at a public high school in downtown Brooklyn. Id. ¶ 13. They also discussed
how John Doe Two would handle his parents seeing the defendant texting him. Id. That same
day, John Doe Two expressly told the defendant he was 16. Id. On October 26, 2020, the
defendant told John Doe 2 he was “into young guys,” repeating a line he would often use to
solicit his victims. Id.

                  The messages between the defendant and John Doe Two include instances where
the defendant instructed John Doe Two during a live video stream in which John Doe Two
masturbated on camera, including telling him to “[p]ut the camera down so I can see you.” Id.
¶ 10. The messages also confirm that John Doe Two had sexual intercourse with the defendant.
On September 27, 2019, the defendant messaged John Doe Two, “[w]e met a few times in my
car . . . ,” and John Doe Two confirmed that the last time he had sex was with the defendant. Id.
¶ 12.

               John Doe Two confirmed to law enforcement that he received nude photographs
from the defendant, sent the defendant approximately 20 images and videos, including videos of
him masturbating, and conducted at least 10 video chats where the defendant watched him
masturbate. Id. ¶ 15. John Doe Two also confirmed that he had oral and anal sex with the
defendant approximately five to 10 times in the defendant’s vehicle. Id. On at least one
occasion, the defendant—clearly attempting to protect himself while exploiting this teenager—
told John Doe Two not to tell anyone because the defendant “could get arrested.” Id.




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               3.     John Doe Three

                The defendant met John Doe Three in July 2020 when John Doe Three was just
14 years old. Id. ¶ 17. Similar to exchanges with other victims, the defendant told John Doe
Three that he was interested in “[y]oung guys,” and John Doe Three told the defendant he was
14. Id. John Doe Three confirmed to law enforcement that he met the defendant approximately
three or four times in the defendant’s vehicle and once at a motel and they performed oral sex on
each other. Id.

               4.     Other Victims

               Due to the fact that the defendant’s victims were near the age of consent and
therefore resemble adult males in photos and videos, and the fact that many individuals use
aliases on messaging applications, law enforcement had difficulty confirming whether additional
of the defendant’s sexual partners were underage victims and—to the extent they were
underage—their true identities. In addition to the three individual’s that form the basis for the
charged conduct, law enforcement was able to identify two additional victims.

                The defendant met Victim One in 2018 or 2019 when Victim One was
approximately 14 or 15 years old. Id. ¶ 22. The defendant met Victim One several times for sex
acts, including oral sex approximately five to 10 times and anal sex. Id. ¶¶ 23-24. Initially,
Victim One told the defendant that he was 18 years old. Id. On another occasion, the defendant
picked up Victim One from his high school, which suggested he possibly was not of age, and
took him to a hotel. Id. ¶ 23. The defendant asked if Victim One was really 18 years old, Victim
One said that he was, and they had anal sex. Id. In approximately June 2020, Victim One told
the defendant he was really 16 years old and that he wanted to stop engaging in sexual activity.
Id. ¶ 25. An interview report of this victim reflects that the defendant told Victim One that
everything was fine as long as he did not tell anyone. Thereafter, the defendant met Victim One
two more times after learning Victim One’s true age. Id.

               The defendant met Victim Two in 2019 or 2020 when Victim Two was 16 years
old. Id. ¶ 26. The defendant sent pictures of his penis to Victim Two and Victim Two
reciprocated with photos of his penis. Id.

       C.      Procedural History

               The defendant was arrested on October 27, 2021 and charged with coercion and
enticement of a minor. See Complaint, ECF No. 1. On November 8, 2021, the Grand Jury
returned an indictment charging the defendant with three counts of coercion and enticement of a
minor, one count of possession of child pornography, in violation of Title 18, United States
Code, Section 2252, and one count of sexual exploitation of a minor through the production of
child pornography, in violation of Title 18 United States Code, Section 2251(a). See ECF No. 8.
The defendant has been in custody since his arrest.

               On September 16, 2022, the defendant pleaded guilty before the Honorable
Sanket J. Bulsara, United States Magistrate Judge. On December 22, 2022, Your Honor
accepted the defendant’s guilty plea.
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II.    Applicable Law

                 The Supreme Court has explained that a “district court should begin all sentencing
proceedings by correctly calculating the applicable Guidelines range. As a matter of
administration, and to secure nationwide consistency, the Guidelines should be the starting point
and the initial benchmark.” Gall v. United States, 552 U.S. 38, 49 (2007) (citation omitted).

               Next, a sentencing court should “consider all of the § 3553(a) factors to determine
whether they support the sentence requested by a party. In so doing, [the court] may not
presume that the Guidelines range is reasonable. [The court] must make an individualized
assessment based on the facts presented.” Id. at 50 (citation and footnote omitted). Specifically,
18 U.S.C. § 3553(a) requires that, in imposing a sentence, a court shall consider:

               (1) the nature and circumstances of the offense and the history and characteristics
                   of the defendant;

               (2) the need for the sentence imposed—

                       (A) to reflect the seriousness of the offense, to promote respect for the
                            law, and to provide just punishment for the offense;

                       (B) to afford adequate deterrence to criminal conduct;

                       (C) to protect the public from further crimes of the defendant; [and]

                       (D) to provide the defendant with needed educational or vocational
                            training, medical care, or other correctional treatment in the most
                            effective manner;

18 U.S.C. § 3553(a).

                 At sentencing, “the court is virtually unfettered with respect to the information it
may consider.” United States v. Alexander, 860 F.2d 508, 513 (2d Cir. 1988). Indeed, “[n]o
limitation shall be placed on the information concerning the background, character, and conduct
of a person convicted of an offense which a court of the United States may receive and consider
for the purpose of imposing an appropriate sentence.” 18 U.S.C. § 3661. Thus, the Court should
first calculate the applicable Guidelines range, and then apply the Section 3553(a) factors to
arrive at an appropriate sentence, considering all relevant facts.

III.   Analysis

               A.      Sentencing Calculation

               The government respectfully submits that the following Guidelines calculation,
which is the same as the government’s estimated calculation in the plea agreement and which the
defendant does not dispute, is correct:


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          Count One: Coercion and Enticement of a Minor

          Base Offense Level (U.S.S.G. § 2G1.3(a))                         28

          Plus: A participant unduly influenced a minor to engage in
                prohibited sexual conduct
                (U.S.S.G. § 2G1.3(b)(2)(B))                                +2

          Plus: The offense involved the use of a computer or an
                interactive computer service
                (U.S.S.G. § 2G1.3(b)(3))                                   +2

          Plus: The offense involved the commission of a sex act
                (U.S.S.G. § 2G1.3(b)(4)(A))                                +2

          Total adjusted offense level for Count One:                      34

          Count Two: Coercion and Enticement of a Minor

          Base Offense Level (U.S.S.G. §§ 2G2.1(a), 2G1.3(c)(1))           32

          Plus: Victim was greater than 12 but less than 16 years of age
                prohibited sexual conduct
                (U.S.S.G. § 2G2.1(b)(1)(B))                                +2

          Plus: The offense involved the use of a computer or an
                interactive computer service
                (U.S.S.G. § 2G2.1(b)(6)(B)(i))                             +2

          Plus: The offense involved the commission of a sex act
                (U.S.S.G. § 2G2.1(b)(2)(A))                                +2

          Total adjusted offense level for Count Two:                      38

          Count Five: Coercion and Enticement of a Minor

          Base Offense Level (U.S.S.G. § 2G1.3(a))                         28

          Plus: A participant unduly influenced a minor to engage in
                prohibited sexual conduct
                (U.S.S.G. § 2G1.3(b)(2)(B))                                +2

          Plus: The offense involved the use of a computer or an
                interactive computer service
                (U.S.S.G. § 2G1.3(b)(3))                                   +2

          Plus: The offense involved the commission of a sex act
                (U.S.S.G. § 2G1.3(b)(4)(A))                                +2
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                Total adjusted offense level for Count Five:                              34

                Multiple Counts Analysis

                Count                         Adjusted Offense Level                      Units

                Count One                     34                                          1.0

                Count Two                     38                                          1.0

                Count Five                    34                                          1.0

                                                                           Total Units:   3.0

                                                       Combined Adjusted Offense Level: 41

                Plus: The defendant is a repeat and dangerous sex
                      offender against minors
                      (U.S.S.G. § 4B1.5(b)(1))                                            +5

                Total Combined Adjusted Offense Level:                                    46

                Less: Acceptance of responsibility                                         -3

                Total Offense Level:                                                      43

                Based upon a Criminal History Category I, as is set forth in the PSR, see PSR
¶ 72; the applicable Guidelines range for the defendant is life imprisonment. See U.S.S.G. § 5A.

           B.      A Significant Sentence Is Appropriate

               The government respectfully submits that a sentence of 30 years’ imprisonment—
which is recommended by the U.S. Department of Probation and below the Guidelines range the
government estimated in the defendant’s plea agreement—is appropriate in light of the § 3553(a)
sentencing factors and is sufficient, but not greater than necessary, to achieve the purposes of
sentencing in this case.

                First, the nature and circumstances of the defendant’s sex offenses warrant a very
serious sentence. Over at least half a decade, the defendant sought out underage male victims as
young as 14 years old through messaging applications that catered to teens and LBGTQ+
individuals. He conversed with his victims about school, homework and after school jobs while
simultaneously asking them for nude photos and videos and to meet for sex. As his victims
finished their school day and afterschool jobs or left their homes and families, the defendant
arranged to engage in sex acts with them in nearby neighborhoods or hotels. He repeatedly
expressed his interest in “young guys,” learned his victims real age, and engaged in sex acts with
them before instructing his victims not to tell anyone so he would remain out of trouble. The
defendant’s pattern of conduct placed these vulnerable children at risk of serious harm, including

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potential sexually transmitted diseases and emotional trauma that is likely to last their lifetimes.
The Guidelines reflect these serious concerns.

                Second, the defendant’s conduct was not limited to messaging and exchanging
child pornography with his victims. He was a hands-on offender who met his victims in his car,
often picking them up near their homes or their schools, and took his victims to motels to engage
in sexual acts. One of his victims described him as “pushy” about wanted to engage in sex acts
and described how the defendant offered money and drugs to encourage the victim to agree to
penetrative sex. The repeated hands-on nature of the defendant’s offenses warrants a significant
sentence. See New York v. Ferber, 458 U.S. 747 (1982) (“The prevention of sexual exploitation
and abuse of children constitutes a government objective of surpassing importance.”).

                Finally, the sentence recommended by the government is necessary to provide
specific and general deterrence and to protect the public from the defendant. For the defendant,
this was not a one-time offense with a single victim. The defendant engaged in a pattern of
seeking out vulnerable teenagers while living a double life as a deacon who was purportedly
committed to the mission of helping vulnerable individuals. The Court’s sentence should ensure
that children are protected from the defendant going forward and send a message to society that
the serious offense of coercing and enticing a minor is met with a commensurately serious
punishment.

                 Contrary to the defendant’s argument, a 30 year sentence in this case would not
cause unwarranted sentencing disparities. Each of the cases the defendant cites in his sentencing
letter are readily distinguishable. For example, United States v. Weinreb, No. 20-CR-06 (BMC)
is irrelevant because it involved a different count of conviction and the applicable Guidelines
range was far below the life sentence called for by the Guidelines in this case. As the defendant
acknowledges, United States v. Arroyo, No. 16-CR-376 (JBW), and United States v. Gallimore,
18-CR-363 (JS), did not involve hands-on sexual abuse, whereas here, the defendant had sexual
encounters with five identified victims on at least 12 different occasions. United States v. Syed,
No. 18-CR-625 (NGG), similarly did not involve hands-on sexual abuse of minor victims.
Those defendants and the conduct at issue in those cases is simply not similar to the repeated acts
of coercion and enticement that resulted in sexual contact with vulnerable minors to which the
defendant has pleaded guilty. Finally, United States v. Palmer, No. 19-CR-556 (CBA), and
United States v. Mendez, No. 20-CR-226 (WFK), demonstrate that a significant sentence is
appropriate for a “serial sexual predator”—which the defendant is—and those who “express[] a
desire to abuse children”—which the defendant clearly did by repeatedly expressing his interest
in sex with “young guys” and victimizing these young boys. Because these defendants and the
facts of their cases are not similar to the present case, a sentence of 30 years’ imprisonment is
appropriate and will not result in unwarranted sentencing disparities.

                Neither the defendant’s apparent exclusive interest in older teen boys, nor the
prevalence of such an attraction, warrants leniency. See Defendant’s Submission, at 4. As Dr.
Calkins acknowledges, “that interest is, of course, illegal.” Id. The defendant’s conduct spanned
six years and involved multiple underage victims who were coerced and enticed into engaging in
various sex acts with the defendant and sharing nude photos and videos. That fact that the
defendant did not victimize even younger children or both males and females does not diminish

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the seriousness of his conduct or the danger he poses. To the contrary, the defendant targeted a
specific set of teenage victims (aged 14 to 16) who had ready access to the Internet, were in the
midst of puberty and the attendant brain and physical changes and would be likely to keep his
secret rather than face the shame and embarrassment of disclosing that they were experimenting
sexually and meeting a middle-aged man for sex in a car or hotel. While the defendant’s counsel
suggests there is a low likelihood of the defendant abusing children again, homosexual
pedophiles commit more abuse than heterosexual pedophiles and “pedophiles offend in their
later years at a greater rate than other sexual offenders.” 5 Moreover, Dr. Calkins’s report
indicates that the defendant denies—contrary to the overwhelming evidence—that he
“intentionally sought out minors.” Calkins Report, at 3. The defendant’s refusal to fully
acknowledge his conduct further demonstrates the need for a significant sentence.

               In sum, the defendant has demonstrated that he poses a significant danger to
society and a sentence of 30 years’ imprisonment is sufficient, but not greater than necessary, to
achieve the purposes of sentencing in this case.

           C.      Sexual Offender Treatment

                The defendant has not received sex offender treatment while detained at the
Metropolitan Detention Center (“MDC”)—the MDC does not offer such treatment—but such
treatment may be available to the defendant depending on his designated Bureau of Prisons
(“BOP”) facility. The BOP offers sex offender treatment programs to defendants who are
sentenced to at least 12 months’ imprisonment and who volunteer for such treatment. The
treatment lasts at least 12 months and is in the form of group therapy. Currently, sex offender
treatment programs are offered at FMC Carswell, FMC Devens, FCI Elkton, FCI Englewood,
FCI Marianna, USP Marion, FCI Petersburg Medium, FCI Seagoville and USP Tucson.




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        Ryan C. Hall & Richard C. Hall, A Profile of Pedophilia: Definition, Characteristics of
Offenders, Recidivism, Treatment Outcomes, and Forensic Issues, 82 Mayo Clinic Proc. 457,
457-58 (2007).

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       IV.    Conclusion

              For the foregoing reasons, the government respectfully requests that the Court
impose a sentence of 30 years’ imprisonment.


                                                   Respectfully submitted,

                                                   BREON PEACE
                                                   United States Attorney

                                            By:             /s/
                                                   Patrick J. Campbell
                                                   Trial Attorney, Fraud Section
                                                   Criminal Division
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cc:    Clerk of the Court (EK) (by email)
       James Darrow, Esq. (by ECF and email)




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